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                     EXHIBIT 2
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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                        Total MME (2006 - 2014)

               Par Pharmaceutical                                              35.1%

                      SpecGx LLC                           12.9%

              Actavis Pharma, Inc.                  8.8%

West-Ward Pharmaceuticals Corp.                    8.3%

                Purdue Pharma LP                 6.3%

                       Sandoz Inc                6.3%

       Mylan Pharmaceuticals, Inc.               6.1%

   Teva Pharmaceuticals USA, Inc.               5.5%

     Amneal Pharmaceuticals LLC            2.9%

       Endo Pharmaceuticals, Inc.        1.5%

  Upsher-Smith Laboratories, LLC         0.9%

   Alpharma Pharmaceuticals LLC          0.9%

                      Indivior Inc.    0.7%

Sun Pharmaceutical Industries, Inc.    0.5%

                      AbbVie Inc.      0.5%

                  KVK-Tech, Inc.       0.5%

                             Other        2.2%

                                  0.0%            10.0%        20.0%   30.0%     40.0%   50.0%   60.0%   70.0%   80.0%   90.0%


                                                                        www.SLCG.com                                        1 of 20
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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                    Total Dosage Units (2006 - 2014)

               Par Pharmaceutical                                                                    64.4%

                      SpecGx LLC                         14.9%

              Actavis Pharma, Inc.            4.3%

West-Ward Pharmaceuticals Corp.               4.0%

                Purdue Pharma LP         0.9%

                       Sandoz Inc     0.1%

       Mylan Pharmaceuticals, Inc.    0.1%

   Teva Pharmaceuticals USA, Inc.      0.7%

     Amneal Pharmaceuticals LLC                 6.3%

       Endo Pharmaceuticals, Inc.     0.2%

  Upsher-Smith Laboratories, LLC      0.1%

   Alpharma Pharmaceuticals LLC       0.2%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.      1.0%

                      AbbVie Inc.        1.2%

                  KVK-Tech, Inc.       0.4%

                             Other       1.4%

                                  0.0%           10.0%     20.0%   30.0%     40.0%   50.0%   60.0%     70.0%   80.0%   90.0%


                                                                    www.SLCG.com                                          2 of 20
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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                           Total MME (2006)

               Par Pharmaceutical                                         27.1%

                      SpecGx LLC                 5.7%

              Actavis Pharma, Inc.       0.9%

West-Ward Pharmaceuticals Corp.                           13.0%

                Purdue Pharma LP      0.0%

                       Sandoz Inc         2.4%

       Mylan Pharmaceuticals, Inc.                                        26.5%

   Teva Pharmaceuticals USA, Inc.                                 21.0%

     Amneal Pharmaceuticals LLC       0.0%

       Endo Pharmaceuticals, Inc.     0.0%

  Upsher-Smith Laboratories, LLC      0.0%

   Alpharma Pharmaceuticals LLC        0.5%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.      0.8%

                      AbbVie Inc.     0.2%

                  KVK-Tech, Inc.      0.0%

                             Other        1.8%

                                  0.0%            10.0%       20.0%       30.0%     40.0%   50.0%   60.0%   70.0%   80.0%   90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                       Total Dosage Units (2006)

               Par Pharmaceutical                                                                               70.3%

                      SpecGx LLC                           11.0%

              Actavis Pharma, Inc.         2.9%

West-Ward Pharmaceuticals Corp.                     7.3%

                Purdue Pharma LP      0.0%

                       Sandoz Inc     0.1%

       Mylan Pharmaceuticals, Inc.     0.5%

   Teva Pharmaceuticals USA, Inc.            3.6%

     Amneal Pharmaceuticals LLC       0.0%

       Endo Pharmaceuticals, Inc.     0.0%

  Upsher-Smith Laboratories, LLC      0.0%

   Alpharma Pharmaceuticals LLC       0.2%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.        3.2%

                      AbbVie Inc.     0.0%

                  KVK-Tech, Inc.      0.0%

                             Other       1.0%

                                  0.0%            10.0%            20.0%   30.0%     40.0%   50.0%   60.0%   70.0%      80.0%   90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                           Total MME (2007)

               Par Pharmaceutical                                           26.7%

                      SpecGx LLC                6.1%

              Actavis Pharma, Inc.    0.2%

West-Ward Pharmaceuticals Corp.                           14.5%

                Purdue Pharma LP      0.0%

                       Sandoz Inc                         14.7%

       Mylan Pharmaceuticals, Inc.                 9.6%

   Teva Pharmaceuticals USA, Inc.                                   21.5%

     Amneal Pharmaceuticals LLC       0.3%

       Endo Pharmaceuticals, Inc.     0.0%

  Upsher-Smith Laboratories, LLC      0.0%

   Alpharma Pharmaceuticals LLC          2.5%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.   0.3%

                      AbbVie Inc.     0.3%

                  KVK-Tech, Inc.      0.0%

                             Other       3.1%

                                  0.0%          10.0%       20.0%           30.0%     40.0%   50.0%   60.0%   70.0%   80.0%   90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                       Total Dosage Units (2007)

               Par Pharmaceutical                                                                              69.9%

                      SpecGx LLC                          11.5%

              Actavis Pharma, Inc.     0.6%

West-Ward Pharmaceuticals Corp.                   7.4%

                Purdue Pharma LP      0.0%

                       Sandoz Inc      0.4%

       Mylan Pharmaceuticals, Inc.    0.2%

   Teva Pharmaceuticals USA, Inc.          3.1%

     Amneal Pharmaceuticals LLC          0.9%

       Endo Pharmaceuticals, Inc.     0.0%

  Upsher-Smith Laboratories, LLC      0.0%

   Alpharma Pharmaceuticals LLC          1.1%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.      1.6%

                      AbbVie Inc.        1.1%

                  KVK-Tech, Inc.      0.0%

                             Other        2.1%

                                  0.0%            10.0%           20.0%   30.0%     40.0%   50.0%   60.0%   70.0%      80.0%   90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                           Total MME (2008)

               Par Pharmaceutical                                                          45.8%

                      SpecGx LLC                    9.3%

              Actavis Pharma, Inc.                7.0%

West-Ward Pharmaceuticals Corp.                                  16.5%

                Purdue Pharma LP      0.0%

                       Sandoz Inc                        10.7%

       Mylan Pharmaceuticals, Inc.         2.7%

   Teva Pharmaceuticals USA, Inc.     0.0%

     Amneal Pharmaceuticals LLC           1.7%

       Endo Pharmaceuticals, Inc.     0.0%

  Upsher-Smith Laboratories, LLC      0.0%

   Alpharma Pharmaceuticals LLC            2.7%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.      0.8%

                      AbbVie Inc.      0.7%

                  KVK-Tech, Inc.      0.0%

                             Other        2.2%

                                  0.0%            10.0%          20.0%   30.0%     40.0%    50.0%   60.0%   70.0%   80.0%   90.0%


                                                                          www.SLCG.com                                         7 of 20
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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                       Total Dosage Units (2008)

               Par Pharmaceutical                                                                             72.9%

                      SpecGx LLC                     8.9%

              Actavis Pharma, Inc.     0.4%

West-Ward Pharmaceuticals Corp.                  7.2%

                Purdue Pharma LP      0.0%

                       Sandoz Inc     0.2%

       Mylan Pharmaceuticals, Inc.    0.1%

   Teva Pharmaceuticals USA, Inc.     0.0%

     Amneal Pharmaceuticals LLC               4.2%

       Endo Pharmaceuticals, Inc.     0.0%

  Upsher-Smith Laboratories, LLC      0.0%

   Alpharma Pharmaceuticals LLC        0.7%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.      2.9%

                      AbbVie Inc.        2.0%

                  KVK-Tech, Inc.      0.0%

                             Other     0.5%

                                  0.0%          10.0%       20.0%   30.0%     40.0%   50.0%   60.0%   70.0%       80.0%   90.0%


                                                                     www.SLCG.com                                            8 of 20
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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                           Total MME (2009)

               Par Pharmaceutical                                     30.6%

                      SpecGx LLC                                   28.5%

              Actavis Pharma, Inc.                       15.7%

West-Ward Pharmaceuticals Corp.              4.2%

                Purdue Pharma LP                 6.5%

                       Sandoz Inc               5.4%

       Mylan Pharmaceuticals, Inc.           3.7%

   Teva Pharmaceuticals USA, Inc.     0.0%

     Amneal Pharmaceuticals LLC           2.4%

       Endo Pharmaceuticals, Inc.     0.0%

  Upsher-Smith Laboratories, LLC      0.0%

   Alpharma Pharmaceuticals LLC        0.7%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.   0.0%

                      AbbVie Inc.      0.7%

                  KVK-Tech, Inc.      0.0%

                             Other       1.5%

                                  0.0%           10.0%    20.0%   30.0%       40.0%   50.0%   60.0%   70.0%   80.0%   90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                       Total Dosage Units (2009)

               Par Pharmaceutical                                                                    67.2%

                      SpecGx LLC                          16.8%

              Actavis Pharma, Inc.         2.9%

West-Ward Pharmaceuticals Corp.            3.3%

                Purdue Pharma LP         1.0%

                       Sandoz Inc     0.1%

       Mylan Pharmaceuticals, Inc.    0.1%

   Teva Pharmaceuticals USA, Inc.     0.0%

     Amneal Pharmaceuticals LLC                 6.2%

       Endo Pharmaceuticals, Inc.     0.0%

  Upsher-Smith Laboratories, LLC      0.0%

   Alpharma Pharmaceuticals LLC       0.3%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.   0.0%

                      AbbVie Inc.        1.8%

                  KVK-Tech, Inc.      0.0%

                             Other    0.3%

                                  0.0%            10.0%   20.0%   30.0%     40.0%   50.0%   60.0%    70.0%   80.0%   90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                           Total MME (2010)

               Par Pharmaceutical                                                  31.1%

                      SpecGx LLC                           12.0%

              Actavis Pharma, Inc.                         11.6%

West-Ward Pharmaceuticals Corp.              3.8%

                Purdue Pharma LP                                           25.4%

                       Sandoz Inc                   7.4%

       Mylan Pharmaceuticals, Inc.              5.8%

   Teva Pharmaceuticals USA, Inc.     0.0%

     Amneal Pharmaceuticals LLC          1.1%

       Endo Pharmaceuticals, Inc.     0.0%

  Upsher-Smith Laboratories, LLC      0.0%

   Alpharma Pharmaceuticals LLC       0.0%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.   0.0%

                      AbbVie Inc.        1.1%

                  KVK-Tech, Inc.      0.0%

                             Other     0.7%

                                  0.0%           10.0%             20.0%    30.0%          40.0%   50.0%   60.0%   70.0%   80.0%   90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                       Total Dosage Units (2010)

               Par Pharmaceutical                                                                            76.7%

                      SpecGx LLC                  7.4%

              Actavis Pharma, Inc.        2.3%

West-Ward Pharmaceuticals Corp.            3.0%

                Purdue Pharma LP           3.5%

                       Sandoz Inc     0.1%

       Mylan Pharmaceuticals, Inc.    0.1%

   Teva Pharmaceuticals USA, Inc.     0.0%

     Amneal Pharmaceuticals LLC           2.7%

       Endo Pharmaceuticals, Inc.     0.0%

  Upsher-Smith Laboratories, LLC      0.0%

   Alpharma Pharmaceuticals LLC       0.0%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.   0.0%

                      AbbVie Inc.          3.1%

                  KVK-Tech, Inc.      0.0%

                             Other       1.2%

                                  0.0%            10.0%   20.0%   30.0%     40.0%   50.0%   60.0%    70.0%   80.0%   90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                           Total MME (2011)

               Par Pharmaceutical                                                           42.8%

                      SpecGx LLC           2.9%

              Actavis Pharma, Inc.                        12.8%

West-Ward Pharmaceuticals Corp.               4.4%

                Purdue Pharma LP                                  17.4%

                       Sandoz Inc     0.1%

       Mylan Pharmaceuticals, Inc.    0.0%

   Teva Pharmaceuticals USA, Inc.     0.0%

     Amneal Pharmaceuticals LLC               4.2%

       Endo Pharmaceuticals, Inc.               5.7%

  Upsher-Smith Laboratories, LLC      0.0%

   Alpharma Pharmaceuticals LLC       0.0%

                      Indivior Inc.               6.7%

Sun Pharmaceutical Industries, Inc.   0.0%

                      AbbVie Inc.        1.0%

                  KVK-Tech, Inc.       0.4%

                             Other       1.5%

                                  0.0%            10.0%       20.0%       30.0%     40.0%       50.0%   60.0%   70.0%   80.0%   90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                       Total Dosage Units (2011)

               Par Pharmaceutical                                                                                80.6%

                      SpecGx LLC          2.5%

              Actavis Pharma, Inc.       1.1%

West-Ward Pharmaceuticals Corp.           2.8%

                Purdue Pharma LP          2.2%

                       Sandoz Inc     0.0%

       Mylan Pharmaceuticals, Inc.    0.1%

   Teva Pharmaceuticals USA, Inc.     0.0%

     Amneal Pharmaceuticals LLC                  6.1%

       Endo Pharmaceuticals, Inc.      0.5%

  Upsher-Smith Laboratories, LLC      0.0%

   Alpharma Pharmaceuticals LLC       0.0%

                      Indivior Inc.   0.3%

Sun Pharmaceutical Industries, Inc.   0.0%

                      AbbVie Inc.        2.0%

                  KVK-Tech, Inc.       0.6%

                             Other       1.2%

                                  0.0%           10.0%   20.0%   30.0%     40.0%   50.0%   60.0%     70.0%   80.0%       90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                           Total MME (2012)

               Par Pharmaceutical                             18.5%

                      SpecGx LLC                                        29.0%

              Actavis Pharma, Inc.                                    27.4%

West-Ward Pharmaceuticals Corp.           2.6%

                Purdue Pharma LP      0.0%

                       Sandoz Inc                 8.1%

       Mylan Pharmaceuticals, Inc.    0.0%

   Teva Pharmaceuticals USA, Inc.     0.0%

     Amneal Pharmaceuticals LLC                      10.6%

       Endo Pharmaceuticals, Inc.         2.1%

  Upsher-Smith Laboratories, LLC      0.0%

   Alpharma Pharmaceuticals LLC       0.0%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.   0.1%

                      AbbVie Inc.     0.2%

                  KVK-Tech, Inc.       0.5%

                             Other       0.9%

                                  0.0%           10.0%       20.0%    30.0%     40.0%   50.0%   60.0%   70.0%   80.0%   90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                       Total Dosage Units (2012)

               Par Pharmaceutical                                       24.9%

                      SpecGx LLC                                                          38.8%

              Actavis Pharma, Inc.                              19.6%

West-Ward Pharmaceuticals Corp.          1.0%

                Purdue Pharma LP      0.0%

                       Sandoz Inc     0.1%

       Mylan Pharmaceuticals, Inc.    0.0%

   Teva Pharmaceuticals USA, Inc.     0.0%

     Amneal Pharmaceuticals LLC                         13.6%

       Endo Pharmaceuticals, Inc.     0.1%

  Upsher-Smith Laboratories, LLC      0.0%

   Alpharma Pharmaceuticals LLC       0.0%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.   0.1%

                      AbbVie Inc.     0.3%

                  KVK-Tech, Inc.       0.5%

                             Other       1.0%

                                  0.0%          10.0%      20.0%          30.0%     40.0%         50.0%   60.0%   70.0%   80.0%   90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                           Total MME (2013)

               Par Pharmaceutical                                       29.4%

                      SpecGx LLC                                                34.2%

              Actavis Pharma, Inc.                     9.0%

West-Ward Pharmaceuticals Corp.              3.7%

                Purdue Pharma LP         1.3%

                       Sandoz Inc      0.4%

       Mylan Pharmaceuticals, Inc.    0.2%

   Teva Pharmaceuticals USA, Inc.     0.0%

     Amneal Pharmaceuticals LLC                 4.8%

       Endo Pharmaceuticals, Inc.        1.3%

  Upsher-Smith Laboratories, LLC                    7.5%

   Alpharma Pharmaceuticals LLC       0.0%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.       2.4%

                      AbbVie Inc.     0.2%

                  KVK-Tech, Inc.         1.2%

                             Other            4.5%

                                  0.0%            10.0%       20.0%   30.0%       40.0%   50.0%   60.0%   70.0%   80.0%   90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                       Total Dosage Units (2013)

               Par Pharmaceutical                                            37.4%

                      SpecGx LLC                                                  40.2%

              Actavis Pharma, Inc.               6.7%

West-Ward Pharmaceuticals Corp.          1.6%

                Purdue Pharma LP      0.3%

                       Sandoz Inc     0.0%

       Mylan Pharmaceuticals, Inc.    0.0%

   Teva Pharmaceuticals USA, Inc.     0.0%

     Amneal Pharmaceuticals LLC                    8.9%

       Endo Pharmaceuticals, Inc.     0.1%

  Upsher-Smith Laboratories, LLC      0.1%

   Alpharma Pharmaceuticals LLC       0.0%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.      1.6%

                      AbbVie Inc.     0.3%

                  KVK-Tech, Inc.         0.8%

                             Other        2.0%

                                  0.0%           10.0%    20.0%   30.0%     40.0%         50.0%   60.0%   70.0%   80.0%   90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                           Total MME (2014)

               Par Pharmaceutical                                                                    63.5%

                      SpecGx LLC      0.1%

              Actavis Pharma, Inc.       2.2%

West-Ward Pharmaceuticals Corp.                 5.8%

                Purdue Pharma LP      0.2%

                       Sandoz Inc        1.7%

       Mylan Pharmaceuticals, Inc.    0.0%

   Teva Pharmaceuticals USA, Inc.     0.0%

     Amneal Pharmaceuticals LLC                  6.3%

       Endo Pharmaceuticals, Inc.                   7.2%

  Upsher-Smith Laboratories, LLC             3.6%

   Alpharma Pharmaceuticals LLC       0.0%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.      1.3%

                      AbbVie Inc.     0.0%

                  KVK-Tech, Inc.           3.1%

                             Other              5.1%

                                  0.0%            10.0%    20.0%   30.0%     40.0%   50.0%   60.0%      70.0%   80.0%   90.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Schley County, GA
                                                       Total Dosage Units (2014)

               Par Pharmaceutical                                                                              76.2%

                      SpecGx LLC      0.3%

              Actavis Pharma, Inc.       1.7%

West-Ward Pharmaceuticals Corp.           2.9%

                Purdue Pharma LP      0.1%

                       Sandoz Inc     0.0%

       Mylan Pharmaceuticals, Inc.    0.0%

   Teva Pharmaceuticals USA, Inc.     0.0%

     Amneal Pharmaceuticals LLC                          12.7%

       Endo Pharmaceuticals, Inc.      0.6%

  Upsher-Smith Laboratories, LLC       0.7%

   Alpharma Pharmaceuticals LLC       0.0%

                      Indivior Inc.   0.0%

Sun Pharmaceutical Industries, Inc.   0.3%

                      AbbVie Inc.     0.0%

                  KVK-Tech, Inc.         1.4%

                             Other        3.1%

                                  0.0%           10.0%       20.0%   30.0%     40.0%   50.0%   60.0%   70.0%   80.0%   90.0%


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